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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

JENNILYN SALINAS, et al.,                       §
                                                §
                       Plaintiffs,              §
                                                §
v.                                              §     Case No. 6:21-cv-162-ADA-JCM
                                                §
NANCY PELOSI, et al,                            §
                                                §
                       Defendants.              §



                  MOTION AND BRIEF TO DISMISS PLAINTIFFS’
              COMPLAINT, AS AMENDED, BY ARKANSAS DEFENDANTS


       Asa Hutchinson, Governor of Arkansas, and John Thurston, Arkansas Secretary of State,

(collectively the “Arkansas Defendants”), move for the dismissal of Plaintiffs’ First and Second

Amended Complaints (Docs. No. 24, 145) pursuant to Federal Rule of Civil Procedure 12(b)(1)

for lack of subject matter jurisdiction based upon the Eleventh Amendment, Rule 12(b)(2) for lack

of personal jurisdiction, Rule 12(b)(6) for failing to state a claim, and for the additional reasons

shown in the following brief to dismiss.

                             I.      STATEMENT OF THE CASE

       This case presents the latest attempt in a line of unsubstantiated lawsuits looking to

overturn the 2020 Presidential Election. In fact, this case is arguably the most unsupported yet.

Plaintiffs allege, using a combination of unproven allegations and conspiracy theories that the two-

party political establishment of the United States has been infiltrated and is currently being run by

an organized group of wealthy elites. None of the Plaintiffs reside in the State of Arkansas, nor did

they vote in the 2020 Presidential Election in Arkansas. Plaintiffs’ sole basis of evidence is a Time



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magazine article that supports their claim that every state in the Union, the United States Congress,

and private individuals conspired to manipulate the 2020 Presidential Election to prevent Donald

Trump from being re-elected (See Doc. No. 24 ¶¶ 14-32). Accordingly, Plaintiffs allege that the

Defendants, including the Arkansas Defendants in their official capacities, conspired

unconstitutionally to deprive them, along with every other United States citizen, the right to vote,

thus, claiming the Defendants deprived them of a proper republican form of government.

       Neither the Plaintiffs’ complaint nor the Time magazine article explains or provides

evidence as to how the Arkansas Defendants conspired to manipulate the 2020 Presidential

Election. Moreover, Plaintiffs do not explain or allege how the Arkansas Defendants purposefully

directed their conduct at Plaintiffs or Texas residents. The Arkansas Defendants are entitled to

have this lawsuit dismissed, because, inter alia, a) the claim is barred by the Eleventh Amendment,

b) this Court lacks personal jurisdiction over the Arkansas Defendants, c) the Plaintiffs lack

standing, and d) the Plaintiffs have failed to state a claim under Fed. R. Civ. P. 12(b)(6).

       Arkansas Defendants agree with and support Georgia Defendants’ Motion to Strike

Plaintiffs’ Second Amended Complaint (Doc. No. 157). Thus, even if this Court does not strike

Plaintiffs’ Second Amended Complaint, with the exception of the arguments contained in Section

(III)(A), the arguments against Plaintiffs’ Second Amended Complaint (Doc. No. 145) apply

equally to Plaintiffs’ First Amended Complaint (Doc. No. 24). Accordingly, the Arkansas

Defendants respectfully request this Court dismiss Plaintiffs’ lawsuit with prejudice regardless of

which complaint controls.

                     II.     RULE 12(b) STANDARDS FOR DISMISSAL

       Under Fed. R. Civ. P. 12(b), complaints should be dismissed where “some insuperable bar

to relief is obvious from the face of the complaint.” Battle v. Liberty Nat. Life Ins. Co., 493 F.2d



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39, 44 (5th Cir. 1974) (internal citations omitted). When ruling on a motion to dismiss, the district

court must accept the allegations contained in the complaint as true and all reasonable inferences

from the complaint must be drawn in favor of the nonmoving party. Benfield v. Magee, 945 F.3d

333, 336 (5th Cir. 2019) (citing Club Retro, L.L.C. v. Hilton, 568 F.3d 181, 194 (5th Cir. 2009)).

“While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual

allegations, a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitlement to relief’ requires

more than labels and conclusions, and a formulaic recitation of the elements of a cause of action

will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). More specifically, when

the alleged facts are taken as true, the complaint must raise more than a speculative right to relief.

Id. “That is, the well-pleaded facts must make relief plausible, not merely possible.” Magee, 945

F.3d at 337 (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

       Furthermore, “Rule 12(b)(6) authorizes a court to dismiss a claim on the basis of a

dispositive issue of law.” Neitzke v. Williams, 490 U.S. 319, 326 (1989) (quoting Hishon v. King

and Spaulding, 467 U.S. 69 (1984)); Conley v. Gibson, 355 U.S. 41 (1957). This procedure

operates on the assumption that the factual allegations in the complaint are true, and thus

streamlines litigation by dispensing with needless discovery and fact-finding. Neitzke, 490 U.S.

at 327. If, as a matter of law, construing the allegations in the complaint favorably to the pleader,

it is clear that no relief could be granted under any set of facts, then the complaint must be

dismissed pursuant to Fed. R. Civ. P. 12(b)(6). Adolph v. Fed. Emergency Mgmt. Agency, 854

F.2d 732, 735 (5th Cir. 1988). Moreover, Plaintiffs must show at least the prima facie elements

of their claims. Twombly, 550 U.S. at 555.




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                III.    ARGUMENT AND CITATION OF AUTHORITIES

A. Plaintiffs’ Claims Against the Arkansas Defendants Are Barred by the Eleventh
   Amendment.

       The Eleventh Amendment bars suit against the Arkansas Defendants in their official

capacities. A federal court cannot hear a case “against one of the United States by Citizens of

another State, or by Citizens or Subjects of any Foreign State.” U.S. Const. amend. XI. The

Supreme Court has held that a citizen was barred from suing his or her own state because of the

state’s sovereign immunity. Hans v. Louisiana, 134 U.S. 1, 15 (1890). In Hans, the Court

interpreted the Constitution and, specifically, the Eleventh Amendment to support a state’s

sovereign immunity from a suit by its own citizen because it would be anomalous that the Eleventh

Amendment would recognize sovereign immunity from citizens of foreign states but not its own

citizens. 134 U.S. at 18. In addition, the Eleventh Amendment bars a party seeking liability

payment from a state’s coffers for retrospective relief. Edelman v. Jordan, 415 U.S. 651, 663

(1974). In order for a citizen to sue his or her own state, the state must have waived its immunity

or consented to the suit under the Eleventh Amendment. Id. at 672. “In deciding whether a State

has waived its constitutional protection under the Eleventh Amendment, we will find waiver only

where stated by the most express language or by such overwhelming implications from the text as

(will) leave no room for any other reasonable construction.” Id. at 673 (quoting Murray v. Wilson

Distilling Co., 213 U.S. 151, 171 (1909)) (internal quotations omitted). “The suability of a state,

without its consent, was a thing unknown to the law.” Hans, 134 U.S. at 16; see also Alden v.

Maine, 527 U.S. 706, 758 (1999) (Maine had not consented to be sued and therefore retained its

sovereign immunity).

       Plaintiffs’ lawsuit against the Arkansas Defendants is barred by the Eleventh Amendment’s

grant of sovereign immunity. The plain language of the Eleventh Amendment bars this lawsuit,

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because it unequivocally prevents suits “against one of the United States by Citizens of another

State.” This lawsuit is against the Arkansas Defendants in their official capacities; therefore, it is

a suit against “one of the United States,” while Plaintiffs in this case are citizens of other states,

including New York, Texas, and Washington (Doc. No. 24, p. 26). Moreover, Arkansas has not

consented to being sued nor has Arkansas waived its sovereign immunity. Accordingly, the

Arkansas Defendants respectfully request that this case be dismissed as it is barred by the Eleventh

Amendment.

B. This Court Lacks Personal Jurisdiction over the Arkansas Defendants.

       This case against the Arkansas Defendants must also be dismissed pursuant to Fed. R. Civ.

P. 12(b)(2) because this Court lacks personal jurisdiction. The bedrock case on the issue of

personal jurisdiction over an out-of-state defendant is International Shoe Co. v. Washington, 326

U.S. 310 (1945). For a court to have personal jurisdiction over a non-resident defendant, due

process required that the non-resident defendant have “minimum contacts” with the forum state so

that the “the suit does not offend traditional notions of fair play and substantial justice.”

International Shoe Co., 326 U.S. at 316. “The inquiry whether a forum State may assert specific

jurisdiction over a nonresident defendant focuses on the relationship among the defendant, the

forum, and the litigation.” Walden v. Fiore, 571 U.S. 277, 283-84 (2014) (internal quotations and

citations omitted). Along with this, the defendant’s conduct must create a connection with the

forum state. Id. In determining whether an out-of-state defendant’s contact has been sufficient

enough to establish personal jurisdiction, courts must consider a few aspects. “First, the

relationship must arise out of contacts that the ‘defendant himself’ creates with the forum State.”

Id. (citing Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475 (1985)) (emphasis in the original).

Second, the relationship is based upon the defendant’s conduct with the forum state, and not to a



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person in the forum state. Id at 285. “[T]he plaintiff cannot be the only link between the defendant

and the forum.” Id. “In other words, there must be an affiliation between the forum and the

underlying controversy, principally, [an] activity or an occurrence that takes place in the forum

State and is therefore subject to the State’s regulation.” Bristol-Myers Squibb Co. v. Superior Court

of Cal., San Francisco Cty., 582 U.S.__, 137 S.Ct. 1773, 1780 (2017).

       The Fifth Circuit has recognized that the long-arm statute of Texas comports with the Due

Process Clause. Defense Distributed v. Grewal, 971 F.3d 485, 490 (5th Cir. 2020). Thus, in

determining whether a defendant has had sufficient minimum contacts to comply with the

standards of due process, the Fifth Circuit has developed the following three-step analysis:

       (1) whether the defendant has minimum contacts with the forum state, i.e., whether
       it purposely directed its activities toward the forum state or purposefully availed
       itself of the privileges of conducting activities there; (2) whether the plaintiff’s
       cause of action arises out of or results from the defendant’s forum related contacts;
       and (3) whether the exercise of personal jurisdiction is fair and reasonable. Id.
       (quoting Seiferth v. Helicopteros Atuneros, Inc., 472 F.3d 266, 271 (5th Cir. 2006))

The due process requirements for personal jurisdiction must be met as to each defendant. Bristol-

Myers Squibb, 137 S.Ct. 1773 at 1783.

       In this case, Plaintiffs cannot show that the Arkansas Defendants had any contact—and

certainly not sufficient minimum contacts—with the State of Texas to satisfy the requirements of

due process. Given that the Arkansas Defendants did not have any contact with Texas, this Court

having personal jurisdiction over them would “offend traditional notions of fair play and

substantial justice.” See International Shoe Co., 326 U.S. at 316. Accordingly, the Arkansas

Defendants respectfully request that this Court dismiss the lawsuit against them pursuant to Fed.

R. Civ. 12(b)(2).




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C. Plaintiffs Lack Standing to Bring this Lawsuit.

        To have standing under Article III of the Constitution, a plaintiff must establish three

irreducible constitutional minimum elements. “The plaintiff must have (1) suffered an injury in

fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to

be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S.Ct. 1540, 1547 (2016)

(citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-561 (1992)). The burden is on the plaintiff

to show that he or she is the “proper party to invoke judicial resolution of the dispute.” United

States v. Hays, 515 U.S. 737, 743 (1995).

        These constitutional standing requirements ensure that the federal court’s power is limited

only to “Cases” and “Controversies” as required by Article III, § 2 of the Constitution. Spokeo,

136 S.Ct. at 1547. Thus, the constitutional standing requirements ensure that the judicial branch

does not overreach its constitutional authority and traverse into issues reserved for other political

branches. To avoid the courts from usurping the powers of the political branches, the Supreme

Court has repeatedly held that a “generalized grievance” against the government is not a sufficient

for standing as it is neither a “case” nor a “controversy.” Hays, 515 U.S. at 743. A generalized

grievance is inconsistent with Article III of the Constitution because the injury to the plaintiff is

not unique and is “common to all members of the public.” Lujan, 504 U.S. at 575, quoting United

States v. Richardson, 418 U.S. 166, 170 (1974); see also Arizonans for Official English v. Arizona,

520 U.S. 43, 64 (1997) (“an interest shared generally with the public at large in the proper

application of the Constitution and laws will not do”).

        This prohibition against generalized grievances is embodied in the constitutional standing

requirement that a party must show it has suffered an injury in fact. To have an injury in fact, a

plaintiff must show harm to a protected interest that is “(a) concrete and particularized, and (b)



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actual or imminent, not conjectural or hypothetical.” Lujan, 504 U.S. at 560 (internal citations

omitted). “For an injury to be ‘particularized,’ it must be shown to affect the plaintiff in a personal

and individualized way.” Spokeo, 136 S.Ct. at 1548, citing Lujan, 504 U.S. at 560.

       For an injury to be concrete, “it must actually exist”; it must be “real.” Spokeo, 136 S.Ct.

at 1543, 1548. In his concurring opinion, Justice Thomas explains that the requirement that an

injury in fact must be concrete is derived from the historical proceedings of the common-law courts

and a person’s ability to claim an injury of a “public right” as opposed to one of a “private right.”

Id. at 1552 (Thomas, J., concurring). Historically, to present “a claim for the violation of public

rights, [plaintiffs] had to allege that the violation caused them “some extraordinary damage,

beyond the rest of the community.” Id. at 1551 (quoting 3 W. Blackstone, Commentaries *220).

As a result, historical doctrine required that “when a plaintiff seeks to vindicate a public right, the

plaintiff must allege that he has suffered a ‘concrete’ injury particular to himself.” Id. at 1552. To

be an injury in fact, the injury must be concrete in both qualitative and temporal senses. 15 James

Wm. Moore, et al., Moore’s Federal Practice § 101.40[4][a], 101-33 (3d ed. 2008). Another legal

commentator explains that the requirement that a party have an injury in fact that is concrete serves

two important purposes: “First, it serves to ensure that the particular plaintiff has a genuine

grievance or injury and is not acting in the ‘abstract’ as a self-appointed guardian of the rule of

law…Second, the injury requirement enables the Court to distinguish genuine injuries from what

it has termed ‘generalized grievances,’ disputes over matters better left to the political branches.”

James E. Pfander, Principles of Federal Jurisdiction, § 2.6.1, 31-32 (Thomson/West 2006).

       “Injury in fact is a constitutional requirement, and it is settled that Congress cannot erase

Article III’s standing requirements by statutorily granting the right to sue to a plaintiff who would

not otherwise have standing.” Spokeo, 136 S.Ct. at 1547-48 (citations omitted). Without Article



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III standing, a plaintiff lacks all standing that cannot be cured by Congress or by the courts. Warth

v. Seldin, 422 U.S. 490, 498 (1975). The Supreme Court has repeatedly held that the constitutional

standing requirements are irreducible. Lujan, 504 U.S. at 560; see also Valley Forge Christian

College v. Americans United for Separation of Church and State, Inc., 454 U.S. 464, 472 (1982)

(“at an irreducible minimum, Art. III requires the party who invokes the court’s authority to show

that he personally has suffered some actual or threatened injury as a result of the putatively illegal

conduct of the defendant”). If Congress could simply convert a public right against the government

into a private right, then Congress would have the ability to transfer constitutional powers among

the branches of the government. Lujan, 504 U.S. at 577. Granted, Congress has the authority to

identify injuries, but Congress cannot trump the standing requirements of the Constitution. “Article

III standing requires a concrete injury even in the context of a statutory violation.” Spokeo, 136

S.Ct. at 1549.

       Plaintiffs cannot show a “concrete” injury in this case, because they cannot show an injury

that is actual and real; therefore, they lack standing to bring this lawsuit. See Spokeo, 136 S.Ct. at

1547. Additionally, Plaintiffs cannot provide evidence that shows that they have suffered an injury

that is unique to them and not common to the public at large. See Lujan, 504 U.S. at 575. Rather,

Plaintiffs are acting as a “self-appointed guardian of the rule of law,” the epitome of a generalized

grievance, which the Supreme Court has repeatedly stated is not a “case” or “controversy” under

Article III. See Hays, 515 U.S. at 743; Lujan, 504 U.S. at 575. Consequently, Plaintiffs lack

standing under the Constitution; therefore, they have no standing at all. See Spokeo, 136 S.Ct. at

1547-48; Warth, 422 U.S. at 498. Accordingly, Plaintiffs’ case should be dismissed with prejudice.




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D. Plaintiffs Have Failed to State a Claim Against the Arkansas Defendants pursuant to Fed.
   R. Civ. P. 12(b)(6).

       Plaintiffs’ First Amended Complaint (Doc. No. 24) and Plaintiffs’ Second Amended

Complaint (Doc. No. 145), individually and combined, fail to state a valid claim for relief against

the Arkansas Defendants as required by Fed. R. Civ. P. 12(b)(6). Although a complaint need not

contain “detailed factual allegations,” it must show that the plaintiff has grounds which entitle the

plaintiff to relief against each defendant. White v. U.S. Corrections, L.L.C., 996 F.3d 302, 307 (5th

Cir. 2021). “Because the notice pleading requirement of the Federal Rules of Civil Procedure

entitle each defendant to know what he or she did that is asserted to be wrongful, allegations based

on a “theory of collective responsibility” cannot withstand a motion to dismiss.” Martinez v. City

of North Richland Hills, 846 Fed.Appx. 238, 243 (5th Cir. 2021). Moreover, this Court cannot

accept as true “legal conclusions, conclusory statements, or naked assertions devoid of further

factual enhancement.” Benfield v. Magee, 945 F.3d 333, 336-37 (5th Cir. 2019) (quoting Iqbal,

556 U.S. at 678) (cleaned up). In other words, the complaint must contain well-pleaded facts,

which make relief plausible. Id.

       This lawsuit against the Arkansas Defendants must be dismissed, because Plaintiffs’ First

Amended Complaint fails to state a claim beyond cursory and general allegations, and fails to show

that Plaintiffs are entitled to relief. See White, 996 F.3d at 307. Moreover, the First Amended

Complaint does not provide the Arkansas Defendants with sufficient notice to know with

specificity what they did that Plaintiffs claim to be wrongful. See Martinez, 846 Fed.Appx. at 243.

       Likewise, Plaintiffs’ Second Amended Complaint (Doc. No. 145) fails to state a claim for

relief for the same reasons stated above. Specifically, Plaintiffs fail to adequately support their

allegation of a Racketeer Influenced and Corrupt Organization Act (RICO) claim, because a claim

brought pursuant to 18 U.S.C. § 1962(c) requires a heighten pleading standard, which includes

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plausibly alleging that the violation was the proximate cause of Plaintiffs’ injuries. See Molina-

Aranda v. Black Magic Enterprises, L.L.C., 983 F.3d 779, 784 (5th Cir. 2020). Accordingly, the

Arkansas Defendants respectfully request that this Court dismiss the lawsuit against them pursuant

to Fed. R. Civ. P. 12(b)(6) for failure to state a claim.

                                       IV.     CONCLUSION

        For the foregoing reasons stated herein, Plaintiffs’ claims against the Arkansas Defendants

must be dismissed with prejudice.

                                                        Respectfully submitted,

                                                        Vincent P. France
                                                        Assistant Attorney General

                                                        /s/ Vincent P. France
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                               CERTIFICATE OF SERVICE

         I, Vincent P. France, hereby certify that on June 24, 2021, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system. I further certify that a true and
correct copy of the foregoing document was sent via the Court’s ECF system to all registered
parties:


                                                           /s/ Vincent P. France
                                                           Vincent P. France




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